               IN THE UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF MISSOURI
                            WESTERN DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
                     Plaintiff,               )
                                              )
         v.                                   )   Criminal Action No.
                                              )   11-00263-01/02-CR-W-ODS
MARCO ANTONIO VERDUZCO-                       )
MORETT and ERNESTO IBARRA,                    )
                                              )
                     Defendants.              )

                MEMORANDUM OF MATTERS DISCUSSED AND
                ACTION TAKEN AT PRETRIAL CONFERENCE

       Pursuant to the order of the Court en banc of the United States District Court for the

Western District of Missouri, a pretrial conference was held in the above-entitled cause

before me on May 23, 2012. Defendant Verduzco-Morett appeared in person and with

appointed counsel Bill Raymond. Defendant Ibarra appeared in person and with appointed

counsel Mark Thomason. The United States of America appeared by Assistant United States

Attorney Sydney Sanders.

I.     BACKGROUND

       On October 19, 2011, an indictment was returned charging both defendants with

conspiracy to distribute and possess with the intent to distribute methamphetamine, in

violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(A) and 846; one count of distribution and

possession with the intent to distribute methamphetamine, in violation of 21 U.S.C.

841(a)(1), (b)(1)(A); Defendant Verduzco-Morett with one count of unlawful entry into the

United States, in violation of 8 U.S.C. § 1326; and Defendant Verduzco Morett with one




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count of being found in the United States at a location not designated by immigration

officials, in violation of 8 U.S.C. § 1325(a)(1).

          The following matters were discussed and action taken during the pretrial conference:

II.       TRIAL COUNSEL

          Ms. Sanders announced that she and Leena Ramana will be the trial counsel for the

government. The case agent to be seated at counsel table is Mark King, ICE.

          Mr. Raymond announced that he will be the trial counsel for Defendant Verduzco-

Morett.

          Mr. Thomason announced that he will be the trial counsel for Defendant Ibarra.

III.      OUTSTANDING MOTIONS

          There are no pending motions in this case.

IV.       TRIAL WITNESSES

          Ms. Sanders announced that the government intends to call 6-7 witnesses without

stipulations or 5-6 witnesses with stipulations during the trial.

          Mr. Raymond announced that Defendant Verduzco-Morett does not intend to call any

witnesses during the trial. The defendant may testify.

          Mr. Thomason announced that Defendant Ibarra intends to call 1-2 witnesses during

the trial. The defendant may testify.

V.        TRIAL EXHIBITS

          Ms. Sanders announced that the government will offer approximately 25 exhibits in

evidence during the trial.

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          Mr. Raymond announced that Defendant Verduzco-Morett will not offer any exhibits

in evidence during the trial.

          Mr. Thomason announced that Defendant Ibarra will offer approximately1-3 exhibits

in evidence during the trial.

VI.       DEFENSES

          Mr. Raymond announced that Defendant Verduzco-Morett will rely on the defense

of general denial.

          Mr. Thomason announced that Defendant Ibarra will rely on the defense of general

denial.

VII.      POSSIBLE DISPOSITION

          Mr. Raymond stated this case is probably not for trial.

          Mr. Thomason stated this case is definitely for trial.

VIII. STIPULATIONS

          Stipulations are not likely in this case.

IX.       TRIAL TIME

          Counsel were in agreement that this case will take 3 days to try.

X.        EXHIBIT LIST, VOIR DIRE AND INSTRUCTIONS

          The U. S. Magistrate Judge ordered:

          That, in addition to the requirements of the Stipulations and Orders filed March 9,
          2012, counsel for each party file and serve a list of exhibits he or she intends to offer
          in evidence at the trial of this case on the form entitled Exhibit Index and have all
          available exhibits premarked using the stickers provided by the Clerk of Court by or
          before May 23, 2012;

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        That counsel for each party file and serve requested jury voir dire examination
        questions by or before noon, Wednesday, May 30, 2008;

        That counsel for each party file and serve, in accordance with the requirements of
        Local Rule 51.1, requested jury instructions1 by or before noon, Wednesday, May 30,
        2012. Counsel are requested to provide proposed jury instructions in both hard copy
        form, as required by Local Rule 51.1, and by e-mail to the trial judge’s courtroom
        deputy.

XI.     UNUSUAL QUESTIONS OF LAW

        No motions in limine are anticipated. There are no unusual questions of law.

XII.    TRIAL SETTING

        All counsel and the defendants were informed that this case will be listed for trial on

the joint criminal jury trial docket which commences on June 4, 2012. A Spanish-speaking

interpreter is required for Defendant Verduzco-Morett. The parties request the second week

of the trial docket.

                                                  /s/ Robert E. Larsen
                                               ROBERT E. LARSEN
                                               United States Magistrate Judge

Kansas City, Missouri
May 23, 2012

cc:     Mr. Kevin Lyon



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         Counsel in all cases assigned to be tried before Chief Judge Fernando Gaitan, Jr.,
as reflected in the trial letter, shall meet and prepare a packet of agreed proposed jury
instructions to be submitted to Judge Gaitan and e-mailed to
marylynn_shawver@mow.uscourts.gov and rhonda_enss@mow.uscourts.gov by June 1,
2012. To the extent there are disagreements to certain instructions, each attorney shall
tab and submit his or her preference on those instructions. The instructions shall be listed
in the order they are to be given.

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